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         EXHIBIT B
       Case
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 1
                              UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION
 3
 4        UNITED STATES OF AMERICA,
 5                       Plaintiff,                 Case No. 5:20MJ1030
                                                    Akron, Ohio
 6                 vs.                              Tuesday, February 11, 2020
                                                    3:09 p.m.
 7        LARRY DEAN HARMON,
 8                       Defendant.
 9
10                       TRANSCRIPT OF IDENTITY/DETENTION HEARING
                         BEFORE THE HONORABLE KATHLEEN B. BURKE
11                             UNITED STATES MAGISTRATE JUDGE
12
          APPEARANCES:
13
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25        Proceedings recorded by ECRO; transcript produced by
          computer-aided transcription.
       Case
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 1                What is that worth in today's United States dollars?
 2        A.      Approximately $80 million.
 3        Q.      I'd like to turn back now to Government's Exhibit 5.
 4                When we looked at Government's Exhibit 4, it showed
 5        that there was bitcoin coming in from marketplaces and
 6        bitcoin coming in from unknown customers.
 7                Where did most of the bitcoin come from?
 8        A.      Most of the bitcoin came from unknown customers.
 9        Q.      And is that illustrated in Government's Exhibit -- is
10        that what's illustrated in Government's Exhibit 5?
11        A.      So most of the known bitcoin that came into Helix came
12        from illegal marketplaces.
13        Q.      Thank you.
14                And is that what's illustrated in Government's Exhibit
15        5?
16        A.      It is, yes.
17        Q.      So what is this? Can you tell us what this is showing
18        us?
19        A.      This shows the amount of bitcoin that we traced from
20        illegal marketplaces that were deposited into the Helix
21        mixer.
22        Q.      And so all of those names and logos sitting around
23        Helix on the left side of Government's Exhibit 5, what are
24        those?
25        A.      Those are Darknet marketplaces.
        Case
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 1                                    I N D E X
 2           DIRECT EXAMINATION OF JEREMIAH HAYNIE                            9
 3           BY MR. RIEDL
 4           CROSS-EXAMINATION OF JEREMIAH HAYNIE                             52
 5           BY MR. FLOOD
 6           REDIRECT EXAMINATION OF JEREMIAH HAYNIE                          70
 7           BY MR. RIEDL
 8           RECROSS EXAMINATION OF JEREMIAH HAYNIE                           74
 9           BY MR. FLOOD
10
11
12                              C E R T I F I C A T E
13
14                           I certify that the forgoing is a correct
15         transcript from the record of proceedings in the
16         above-entitled matter.
17
18                         S/Caroline Mahnke                    2/25/2020
19                         Caroline Mahnke, RMR, CRR, CRC              Date
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21
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